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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


AMERICAN OVERSIGHT,

             Plaintiff,

     v.
                                               Civil Action No. 25-0719 (TSC)
U.S. AGENCY FOR INTERNATIONAL
DEVELOPMENT, et al.,

             Defendants.




          DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR A
                   TEMPORARY RESTRAINING ORDER
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        Defendants United States Agency for International Development (“USAID”), National

Archives and Records Administration (“NARA”), and Marco Rubio, in his official capacity as

Acting Administrator of USAID and Acting Archivist of the United States, respectfully submit the

following opposition to Plaintiff’s Motion for Temporary Restraining Order (ECF No. 5), which

lacks all merit and should be denied in its entirety. Plaintiff cannot demonstrate that Defendants

are currently or will imminently violate the Freedom of Information Act (“FOIA”) or the Federal

Records Act (“FRA”) or that Plaintiff faces the faintest prospect of irreparable harm absent the

sweeping relief Plaintiff demands in its Motion. Based on newspaper and social media reports

about one email—taken entirely out of context—Plaintiff asserts that Defendants “enabled a

brazen call to destroy records in shocking defiance of their statutory obligations.” Plaintiff’s

Memorandum in Support of Motion for Temporary Restraining Order (“Pl.’s Mem.”) (ECF No.

5-1) at 10. This hyperbole bears little relationship to the facts.

        Rather than the “brazen” purge Plaintiff imagines, as explained in the accompanying

Declaration of Erica Carr, Acting Executive Secretary in the Executive Secretariat of USAID,1 the

email in question related to an effort to clear the space formerly occupied by USAID for its new


        1
                The Government submitted this declaration two days ago, in response to motions
seeking temporary restraining orders in two other cases, also predicated on a misapprehension of
the March 10, 2025, email. See American Foreign Serv. Assoc. v. Trump, Civ. A. No. 25-0352
(CJN) (filed Feb. 6, 2025); Personal Servs. Contractor Ass’n v. Trump, Civ. A. No. 25-0469 (filed
Feb. 18, 2025). In one of those two cases, the plaintiff has since voluntarily withdrawn its motion.
See American Foreign Serv. Assoc. v. Trump, Civ. A. No. 25-0352, Notice of Withdrawal of Mot.
for TRO (ECF No. 61). In the second case, Judge Nichols issued an order this morning denying
the plaintiff’s motion for a TRO, finding in part that there was no showing of irreparable harm
because plaintiff “had not demonstrated that any records USAID intends to destroy are even
relevant to [that] litigation in the first place,” and that USAID “has attested that ‘it will not destroy
additional documents stored in USAID offices of the Ronald Reagan Building without giving
notice to [the plaintiff] and an opportunity for [it] to raise the issue with the Court.” Order at 4,
Personal Servs. Contractor Ass’n v. Trump, Civ. A. No. 25-0469 (ECF No. 469).
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tenant. Ms. Carr’s preceding email to the staff sought employees’ assistance “[i]n order to

determine if there are historical classified records or originally classified documents that must be

maintained until they meet their disposition date.” Carr Decl., Ex. A at 1. Pursuant to her

instructions, to facilitate the new tenant’s imminent arrival, trained USAID staff carefully sorted

classified documents. Any documents pertaining to current classified programs were retained, as

were all personnel records and any document that must be retained under the FRA. As discussed

in the Declaration of William Fischer (“Fischer Decl.”), submitted herewith, NARA has already

conferred with USAID’s Agency Records Officer, who confirmed that the agency was properly

separating non-records from records, and that only non-records had been destroyed. Fischer Decl.

¶¶ 9. Consistent with its regulations, NARA is further following up and seeking additional

information from USAID concerning these events. Id. ¶¶ 6–10.

       In the meantime, as explained in Ms. Carr’s Declaration, USAID has already committed

not to destroy any additional documents after March 11, 2025, without first notifying the plaintiffs

in the American Foreign Serv. Assoc and Personal Servs. Contractor Association cases. USAID

is preparing a declaration to the same effect in this case. And, to the extent Plaintiff’s Motion seeks

USAID policies concerning its record retention or FOIA processing, government counsel has

already provided Plaintiff those policies. Thus, apart from the other deficiencies in Plaintiff’s

Motion, Plaintiff cannot establish that it would suffer irreparable harm—or, indeed, any harm at

all—in the absence of the requested temporary restraining order.

       Moreover, an order preventing Defendants from handling documents in accordance with

applicable laws would hinder the Government’s supervision and management of its records

(including classified records), which does not serve the public interest. For all these reasons, the

Court should deny Plaintiff’s Motion.




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                                        BACKGROUND

       As part of the recent restructuring of USAID, the space in the Ronald Reagan Building in

Washington, DC that the agency previously occupied is being decommissioned and prepared for

a new tenant, U.S. Customs and Border Protection (“CBP”). Carr Decl. ¶ 5. As part of this

decommissioning process, the General Services Administration (“GSA”) and CBP asked that

USAID clear the space of documents by March 11, 2025, if possible, and no later than March 31,

2025. Id. Stored in parts of the space USAID has vacated are certain classified documents that

must be maintained in classified safes or sensitive compartmentalized information facilities

(“SCIFs”) until properly destroyed. Id. ¶ 3.

       On March 11, 2025, thirty-four selected USAID personnel conducted a planned removal

of documents from that space. Id. Those employees all hold Secret-level or higher security

clearances, and all of them have completed records management training and training in how to

properly safeguard and dispose of classified materials. Id. ¶¶ 3, 11. The vast majority of the

removed documents fall into two categories: (1) copies of classified documents that were originally

classified by other government agencies, or (2) derivatively-classified documents created for the

purposes of, but not limited to, high-level meetings, official government travel, and intelligence

briefings, which USAID no longer has a need to retain. Id. ¶ 6. Original copies of the classified

documents are retained by other government agencies, or they are maintained in electronic format

on classified systems. Id.

       USAID staff working on the decommissioning were instructed to retain any originally

classified USAID documents if they had not met their retention requirement in accordance with

the disposition schedule, approved by NARA. Id. ¶ 7. Staff were also instructed to retain current

classified program files. Id. These documents are being safeguarded in the Ronald Reagan

Building vault until permanent storage is identified. Id.


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        Furthermore, USAID’s Office of Human Capital and Talent Management was given an

opportunity to participate in the March 11 record management activity to identify and safeguard

personnel records in accordance with the records management disposition schedule. Id. ¶ 8. None

of the destroyed documents, which are all classified, are personnel records. Id. Any personnel

records remaining in the Ronald Reagan Building were retained. Id.

        The removal of documents was conducted in accordance with applicable law, including

the FRA, see id. ¶ 10, 5 C.F.R. § 1312, id. ¶ 9 and Executive Order 13526, id.

        Most of the classified documents that were deemed subject to destruction on March 11,

2025, were placed in approved burn bags. Id. ¶ 12. Those burn bags are currently being stored

securely in the Ronald Reagan Building, where USAID will hold them and their contents while

other pending litigation concerning those materials continues. Id. USAID has further stated that

it will not destroy any additional documents stored in the spaces of the Ronald Reagan Building

without giving notice to Plaintiff and an opportunity for Plaintiff to raise the issue with the Court.

Id. ¶ 13.

        At some point on March 11, 2025, an internal email containing partial logistical

instructions on carrying out the planned removal of documents was made public. See Pl.’s Mot.

at 2.   Citing newspaper and social media reports concerning that email—and based on a

misapprehension of its meaning—Plaintiff now seeks sweeping extraordinary relief including an

injunction barring USAID from “shredding, burning, or otherwise destroying records at USAID,

including electronic communications.” Id.




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                                      LEGAL STANDARDS

       “[A] preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

v. Nat. Res. Def. Council, 555 U.S. 7, 24 (2008). 2 A party seeking preliminary relief must make a

“clear showing that four factors, taken together, warrant relief: likely success on the merits, likely

irreparable harm in the absence of preliminary relief, a balance of the equities in its favor, and

accord with the public interest.” League of Women Voters of the U.S. v. Newby, 838 F.3d 1, 6 (D.C.

Cir. 2016) (quoting Pursuing Am.’s Greatness v. FEC, 831 F.3d 500, 505 (D.C. Cir. 2016)). The

moving party bears the burden of persuasion and must demonstrate, “by a clear showing,” that the

requested relief is warranted. Hospitality Staffing Sols., LLC v. Reyes, 736 F. Supp. 2d 192, 197

(D.D.C. 2010) (quoting Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C.

Cir. 2006)). Before the Supreme Court’s decision in Winter, courts weighed these factors on a

“sliding scale,” allowing “an unusually strong showing on one of the factors” to overcome a

weaker showing on another. Damus v. Nielsen, 313 F. Supp. 3d 317, 326 (D.D.C. 2018) (Boasberg,

J.) (quoting Davis v. Pub. Benefit Guar. Corp., 571 F.3d 1288, 1291-92 (D.C. Cir. 2009)). The

D.C. Circuit has suggested, without deciding, that Winter—which overturned the Ninth Circuit’s

“possibility of irreparable harm” standard—“should be read to abandon the sliding-scale analysis

in favor of a ‘more demanding burden’ requiring plaintiffs to independently demonstrate both a

likelihood of success on the merits and irreparable harm.” Bartko v. Dep’t of Just., Civ. A.

No. 13-1135 (JEB), 2015 WL 13673371, at *1 (D.D.C. 2015) (citing Sherley v. Sebelius, 644 F.3d



       2
              “[T]he same substantive standard generally applies to both temporary restraining
orders and preliminary injunctions.” Sterling Com. Credit-Michigan, LLC v. Phoenix Indus. I,
LLC, 762 F. Supp. 2d 8, 13 (D.D.C. 2011). See also, e.g., Washington Metropolitan Area Transit
Comm’n v. Holiday Tours, Inc., 559 F.2d 841, 843 (D.C. Cir. 1977).




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388, 392–93 (D.C. Cir. 2011), and Davis, 571 F.3d at 1292); see also League of Women Voters,

838 F.3d at 7 (declining to address whether “sliding scale” approach is valid after Winter). That

said, the Supreme Court has confirmed that a plaintiff must satisfy all elements of the standard to

succeed. See, e.g., Murthy v. Missouri, 603 U.S. 43, 99 n.18 (2024) (“To obtain a preliminary

injunction, [plaintiff] was required to establish that she is likely to succeed on the merits, that she

would otherwise suffer irreparable harm, and that the equities cut in her favor.” (citing Winter)).

Even before Winter, courts in this Circuit consistently stressed that “a movant must demonstrate

‘at least some injury’ for a preliminary injunction to issue.” Chaplaincy of Full Gospel Churches,

454 F.3d at 297 (quoting CityFed Fin. Corp. v. Off. of Thrift Supervision, 58 F.3d 738, 747 (D.C.

Cir. 1995)). Thus, “if a party makes no showing of irreparable injury, the court may deny the

motion without considering the other factors.” Henke v. Dep’t of Interior, 842 F. Supp. 2d 54, 59

(D.D.C. 2012) (Boasberg, J.) (quoting CityFed Fin. Corp., 58 F.3d at 747); see also Chaplaincy

of Full Gospel Churches, 454 F.3d at 297 (“A movant’s failure to show any irreparable harm

is . . . grounds for refusing to issue a preliminary injunction, even if the other three factors entering

the calculus merit such relief.”).

                                            ARGUMENT

I.      Plaintiff Lacks Standing to Obtain Prospective Relief.

        “[W]hen a plaintiff seeks prospective relief such as an injunction,” under Article III “the

plaintiff must establish a sufficient likelihood of future injury.” Food & Drug Admin. v. Alliance

for Hippocratic Med., 602 U.S. 367, 381 (2024). At the preliminary injunction stage, a plaintiff

may not rest on “general allegations,” Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992), but

must adduce “specific facts” that make “a ‘clear showing’ that” that plaintiff “is ‘likely’ to

establish each element of standing.” Murthy v. Missouri, 603 U.S. 43, 58 (2024); see id. at 67 n.7

(“plaintiffs bear the burden to establish standing by setting forth ‘specific facts’”). Without proof


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of “ongoing” or “continuing” asserted misconduct regarding recordkeeping, Plaintiff simply fails

to show “real and immediate threat of repeated injury,” 603 U.S. at 58, necessary for Article III

standing to seek prospective relief concerning USAID recordkeeping.

       Here, Plaintiff’s purported standing appears to rest on its ability to issue FOIA requests to

USAID and obtain records in response to those requests. See Compl. ¶ 13. Plaintiff states that it

“has submitted 13 FOIA requests to USAID in 2025” as of the date of its motion for temporary

relief and provides several of these requests as exemplars. Pls.’ Mem. at 9 n. 17; see Declaration

of Emma Lewis (ECF No. 5-2) ¶¶ 4–5, 10–11. Plaintiff claims that “USAID’s broad records

destruction may include records responsive to many of American Oversight’s additional FOIA

requests,” id. (emphasis added), but Plaintiff offers nothing to support this unadorned speculation

as to why that might be so. Personnel records and records concerning “the direction to shred

documents,” id., stand alone as the only categories of records Plaintiff specifically identifies as

potentially responsive to Plaintiff’s extant FOIA requests, and subject to alleged potential

destruction in the absence of the requested relief. Neither category of documents would have been

destroyed in the events that precipitated Plaintiff’s lawsuit. As Ms. Carr explained, none of the

destroyed documents (all of which are classified) constitute personnel records, and any personnel

records remaining in the Ronald Reagan Building were retained. See Carr Decl. ¶ 8.

       Thus, the factual predicate for Plaintiff’s demand for prospective relief is USAID’s March

11, 2025, document handling actions, which have been widely cast in press and social media

reports as a wanton destruction or removal of agency records. See Pl.’s Mem. at 3–5. Ms. Carr’s

declaration demonstrates that the agency’s March 11, 2025 steps to remove and destroy certain

documents were narrow in that they pertained largely to certain categories of classified records;

intended to facilitate USAID’s move from the Ronald Reagan office space to facilitate a new




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government lessee; and specifically designed to comply with the FRA’s recordkeeping obligations.

See Carr Decl. ¶¶ 3–12. None of the documents subject to the March 11, 2025 removal and

destruction of records appears to be responsive to any of Plaintiff’s sample FOIA requests or

included in the materials designated for removal or destruction on March 11, 2025. Importantly,

Ms. Carr’s sworn statement states that no further USAID documents at the Ronald Reagan

Building will be removed or destroyed absent notice and an opportunity for the Court to address

any such developments. On these facts, there is no “ongoing” or “continuing” conduct by USAID

personnel to support any finding that Plaintiff faces the “real and immediate threat” of repeated

injury, and therefore, Plaintiff cannot establish Article III standing to support its demand for a

temporary restraining order in this case.

II.    Plaintiff Cannot Establish the Likelihood of Success on the Merits.

       Plaintiff’s merits claims are that: (1) USAID’s recent document handling actions violated

the FRA; (2) that USAID has failed to comply with FOIA’s “reading room” requirements with

respect to USAID’s recordkeeping policies and procedures; and (3) that NARA has failed to

initiate an enforcement action to recover allegedly “unlawfully removed” documents. See Compl.

¶¶ 3–5, 67–70, 75–77, Plaintiff cannot establish a likelihood of success on its claims.

       A.      Plaintiff’s FRA Contention Is Meritless and Factually Unsound.

       The FRA requires heads of federal agencies to “make and preserve records containing

adequate and proper documentation of the organization, functions, policies, decisions, procedures,

and essential transactions of the agency.” 44 U.S.C. § 3101. But even where a Government officer

“has violated” the FRA, the Supreme Court has explained that “Congress has not vested federal

courts with jurisdiction to adjudicate that question upon suit by a private party. That responsibility

is vested in the administrative authorities.” Kissinger v. Reps. Comm. for Freedom of the Press,

445 U.S. 136, 149–50 (1980). The Supreme Court held in Kissinger that the FRA does not create


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any private enforceable rights, given that the statute was intended “not to benefit private parties,

but solely to benefit the agencies themselves and the Federal Government as a whole.” Id. at 149.

       Applying that teaching, in Armstrong v. Bush, 924 F.2d 282 (D.C. Cir. 1991), the Court of

Appeals assessed three types of agency actions under the FRA: “(1) agency employees’

‘destroying records in contravention of the . . . recordkeeping guidelines and directives’; (2) the

agency’s failure to employ adequate recordkeeping guidelines and directives; and (3) the agency

head’s or [Archivist of the United States]’s refusal to seek the initiation of an enforcement action

by the Attorney General” under 44 U.S.C. § 3106. See CREW v. Pruitt, 319 F. Supp. 3d 252, 257

(D.D.C. 2018) (quoting Armstrong, 924 F.2d at 291, 294–95). Agency actions of the first type are

“not reviewable,” whereas those of the second and third types may proceed under the

Administrative Procedure Act. See id. Hence, “courts may not entertain private suits alleging that

agencies have improperly destroyed or removed records, but they may consider ones challenging

whether agency guidelines that permit destruction of certain records are adequate under the FRA

and ones alleging that the agency head or Archivist improperly refused to seek initiation of an

enforcement action by the Attorney General.” Id. at 258. Courts thus recognize that while the FRA

“does contain several specific requirements,” it “understandably leaves the details of records

management to the discretion of individual agency heads.” Armstrong, 924 F.2d at 293; see also

CREW v. Dep’t of Homeland Sec., 507 F. Supp. 3d 228, 245 (D.D.C. 2020).

       Here, Plaintiff asserts, based on social media and news media reports, that USAID

personnel are, at the direction of the acting USAID executive secretary, “shred[ding] or burn[ing]

agency documents” in a manner not authorized by the FRA. Pl.’s Mem. at 7. Plaintiff therefore

depicts “agency employees” as engaged in “destroying records in contravention of

the . . . recordkeeping guidelines and directives” of the agency, which is the first of the three types




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of FRA claims analyzed in Armstrong—and, critically, the one type of claim that is “not

reviewable” under that precedent. See, e.g., Pruitt, 319 F. Supp. 3d at 257-58; see generally

Armstrong, 924 F.2d at 291, 294–95.

       In addition to this legal deficiency in Plaintiff’s FRA contention, Plaintiff’s assertions to

this Court—informed as they are by a series of news articles and social media posts—lack factual

foundation in what, in fact, occurred here. The Carr Declaration demonstrates the precarity of

Plaintiff’s factual claims. Ms. Carr explains that due to an upcoming transfer of the USAID office

space in the Ronald Reagan building to a new lessee, she tasked a group of USAID employees

with identifying and removing or disposing of “outdated and no longer needed derivatively

classified documents” located “in classified safes and sensitive compartmentalized information

facilities.” Carr Decl. ¶ 3. Ms. Carr provided instructions to these employees to retain classified

documents in accordance with the approved NARA disposition schedule. Id. ¶ 7. The vast majority

of the removed documents were either (1) copies of classified documents that were originally

classified by agencies other than USAID, or (2) derivatively classified documents created for such

purposes as briefings and official travel, and USAID no longer has a need to retain them. Carr

Decl. ¶ 6. Original copies of the classified documents are retained by other government agencies,

or they are maintained in electronic format on classified systems. Id.

       Turning to personnel records, USAID’s human resources office was tasked “to identify and

safeguard personnel records in accordance with the records management disposition schedule.”

Carr Decl. ¶ 8. None of the records that were destroyed or set aside for destruction were personnel

records, and USAID employees handled those records under USAID’s pre-existing records

management disposition schedule. Id. None of the destroyed documents, which are all classified,

are personnel records, and any personnel records remaining in the Ronald Reagan Building were




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retained. See id.

       Despite being aware of Ms. Carr’s sworn declaration, Plaintiff provides no contrary basis

for second-guessing the conclusion of agency personnel that the March 11, 2025, conduct

appropriately respected agency policies and procedures for records management. Those personnel,

Ms. Carr explains, received prior training in the agency’s policies as to recordkeeping and as to

classified information. See Carr Decl. ¶ 11. Plaintiff’s contentions are legally and factually

meritless, landing well short of the showing required for the entry of the extraordinary relief

requested.

       B.      Plaintiff’s Claim Under the Freedom of Information Act Is Moot.

       Plaintiff’s claim under the FOIA likewise misses the mark. Plaintiff asserts that Plaintiff is

entitled to relief because USAID’s “online ‘reading room’” “does not include statements of policy

and interpretations which have been adopted by the agency and not published in the Federal

Register, nor does it include ‘administrative staff manuals and instructions to the staff that affect

the public.’” Compl. ¶ 95 (quoting 5 U.S.C. § 552(a)(2)). In particular, Plaintiff asks the Court to

order production to Plaintiff of “a copy of any existing USAID recordkeeping and FOIA

processing policies, guidance, and related directives.” Pl.’s Proposed Order, ECF No. 5-4 at 1.

       But USAID, through Department of Justice counsel, already has produced those materials

to the Plaintiff. Counsel offered to provide those materials to Plaintiff on March 13, 2025, and

transmitted them to Plaintiff’s counsel, in electronic form, on March 14, 2025. Those materials

comprised (1) USAID Automated Directives System (ADS) Chapter 502 – Records Management

Program, which establishes USAID’s policies and procedures for managing records, ensuring

compliance with federal laws, and maintaining proper documentation of the agency’s activities,

and (2) USAID Automated Directives System (ADS) Chapter 507 – Freedom of Information Act

(FOIA), which outlines the USAID’s policies and procedures for processing requests for Agency


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records under FOIA, and addresses statutory, regulatory, policy, procedural, and processing

requirements that USAID must follow.3 Under D.C. Circuit precedent, receipt of these materials

in electronic form is all the relief to which Plaintiff would be entitled, even if Plaintiff were to

prevail on its FOIA claim.

        In Citizens for Resp. & Ethics in Washington v. United States Dep’t of Just., 846 F.3d 1235

(D.C. Cir. 2017), the Court of Appeals examined the relief available under the same provision

upon which Plaintiff relies here. See CREW, 846 F.3d at 1243. The Court of Appeals concluded:

“we think it clear that a court has no authority under FOIA to issue an injunction mandating that

an agency ‘make available for public inspection’ documents subject to the reading-room

provision.” Id. Rather, the relief available was disclosure of the subject documents to the particular

plaintiff before the court, id., which is the very relief Plaintiff in this case seeks. See Pl.’s Proposed

Order, ECF No. 5-4 at 1.4

        As a result, Plaintiff’s FOIA claim is moot, and Plaintiff cannot demonstrate a likelihood

of success on the merits of this claim. See, e.g., Cueto v. Dir., Bureau of Immigr. & Customs Enf’t,

584 F. Supp. 2d 147, 149–50 (D.D.C. 2008) (“[w]hen all the relief sought has been obtained, there

no longer exists a live controversy”) (internal quotation omitted).



        3
                While Plaintiff correctly notes that these materials are not currently available in
USAID’s FOIA Reading Room, see https://foiarequest.usaid.gov/app/ReadingRoom.aspx, ADS
Chapter 502 is currently available on the USAID website, at the following URL:
https://drive.google.com/file/d/18ul7bUiCU1WvaZTQnOOcjc-wMtyu4cj1/view.

        4
                After Government counsel indicated that counsel would transmit the requested
materials, Plaintiff’s counsel additionally requested that USAID also supply a declaration attesting
that the policies provided are the policies that USAID is currently following. Such a declaration
would not be available under FOIA; it is black letter law that “the FOIA imposes no duty on the
agency to create records.” Forsham v. Harris, 445 U.S. 169, 186 (1980) (citing NLRB v. Sears,
Roebuck & Co., 421 U.S. 132, 161–62 (1975)).


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       C.      Plaintiff’s Claims Against NARA Are Unlikely to Succeed.

       Plaintiff claims that NARA has failed to initiate enforcement actions in response to the

“widespread public reporting” of purported unlawful document destruction at USAID, in violation

of 44 U.S.C. § 3106. See Compl. ¶¶ 80–82; Pl.’s Mem. at 8. Plaintiff is wrong, because the factual

predicate for any such action does not exist. 44 U.S.C. § 3106 requires agency heads to notify the

Archivist of any “actual, impending, or threatened unlawful removal . . . or destruction of records

in the custody of the agency” and to “initiate action through the Attorney General for the recovery

of records the [agency head] knows or has reason to believe have been unlawfully removed.”

44 U.S.C. § 3106(a). Here, as is clearly demonstrated by Ms. Carr’s declaration, no such “unlawful

removal . . . or destruction” has or is threatened to occur. To the contrary, USAID personnel were

tasked to identify, remove, and destroy certain classified records in accordance with the FRA; no

personnel records were included among the documents that were destroyed; and such records

remain at the Ronald Reagan Building. Carr Decl. ¶¶ 6–8. Put simply: there has not been, nor is

there imminently going to be, any “unlawful removal . . . or destruction” of records mandating any

report to NARA or to the Attorney General.

       Nevertheless, the Fischer Declaration demonstrates that NARA is following its regulations

and taking appropriate steps based on the press and social media reports alleging that documents

were improperly destroyed. Specifically, on March 11, 2025, NARA was made aware of an

allegation of unauthorized disposition of USAID records from various sources. See Fischer Decl.

¶ 5. NARA promptly contacted USAID’s Agency Records Officer, who stated that USAID was

not improperly destroying records but rather:

       ● assessing classified safes throughout the Ronald Reagan building to consolidate records,

       ● properly separating non-records from actual records,




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        ● destroying only non-records which include[d] reference materials, copies, drafts, and

           deliberative unclassified/classified documents that staff printed as supporting meeting

           materials, and

        ● consolidating actual records requiring preservation into a classified vault.

See id. ¶¶ 6–8. Consistent with 36 C.F.R. § 1230.16, NARA further has asked that USAID provide

a written response, with additional detail, concerning the allegations of unauthorized disposition

of USAID records, within thirty calendar days of NARA’s request. Thus, NARA’s review of the

circumstances surrounding the March 11, 2025 allegations is ongoing.

        In sum, NARA is diligently carrying out its responsibilities, and Plaintiff therefore lacks

any likelihood of success on the merits of Plaintiff’s asserted claims against NARA.

III.    Plaintiff Fails to Show Irreparable Harm.

        Any movant seeking either a TRO or preliminary injunction, must demonstrate that they

will suffer irreparable harm in the absence of the requested relief. See Chaplaincy of Full Gospel

Churches, 454 F.3d at 297. Irrespective of a party’s showing as to the other three factors necessary

to obtain preliminary equitable relief, “‘[a] . . . failure to show any irreparable harm’ constitutes

grounds for denying the motion.” Sterling Com. Credit-Michigan, LLC v. Phoenix Indus. I, LLC,

762 F. Supp. 2d 8, 13 (D.D.C. 2011) (quoting Chaplaincy of Full Gospel Churches, 454 F.3d at

297); see also, e.g., English v. Trump, 279 F. Supp. 3d 307, 336 (D.D.C. 2018) (“[Plaintiff’s]

inability to demonstrate that she is likely to suffer irreparable harm, regardless of her likelihood of

success on the merits, is also a sufficient basis to deny her motion [for preliminary injunctive

relief].”) Just so in this case.

        Plaintiff largely builds its argument for irreparable harm on its FOIA requests, submitted

to USAID. Plaintiff points specifically to a FOIA request to USAID for personnel documents

regarding any personnel who started at USAID since January 20, 2025, as well as “recent requests


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for records, including communications, relating to the directive to shred documents.” Pl.’s Mem.

at 9. While Plaintiff further asserts “USAID’s broad records destruction may include records

responsive to many of American Oversight’s additional FOIA requests,” id. (emphasis added),

Plaintiff offers nothing to support this unadorned speculation as to why that might be so. Personnel

records and records concerning “the direction to shred documents,” id., stand alone as the only

categories of records Plaintiff specifically identifies as potentially responsive to Plaintiff’s extant

FOIA requests, and subject to alleged potential destruction in the absence of the requested relief.

But neither of these categories of documents would have been destroyed in the events that

precipitated Plaintiff’s lawsuit. As Ms. Carr explained, none of the destroyed documents (all of

which are classified) constitute personnel records, and any personnel records remaining in the

Ronald Reagan Building were retained. See Carr Decl. ¶ 8. Nor is it clear why personnel

documents would be classified and reside in a SCIF. Likewise, the March 10, 2025, email about

properly handling materials for shredding and using burn bags—itself an unclassified document—

would not have been included in instructions concerning the destruction of classified documents.

       Indeed, Plaintiff has not substantiated its allegations regarding the purported “unlawful”

removal or destruction or documents from USAID, or supported its contentions that Defendants

will do so in the future. While Plaintiff points to inadmissible newspaper articles and social media

posts, Pl.’s Mot. at 2 n.1, the sole admissible evidence in the record—Ms. Carr’s declaration

attesting that “[t]he classified documents destroyed or identified for destruction were not

permanent ‘records’ or they had met their retention requirements”—establishes that Plaintiff is

mistaken in claiming that any unlawful document destruction occurred in the first instance.

       Moreover, there is no ongoing conduct in dispute against which Plaintiffs’ proposed

restraint would be necessary. USAID has already committed not to destroy any additional




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documents stored in the agency’s offices at the Ronald Reagan Building without notice in other

cases pending before the Court. See Carr Decl. ¶ 13. USAID currently is preparing a declaration

that would make the same assurance in this litigation. That would allow Plaintiffs to seek the

Court’s intervention, as appropriate, at that time—it is not a basis for issuance of an extraordinary

provisional remedy at this time, when Plaintiffs can only speculate as to whether any destruction

to which they would object would even be proposed, much less carried out.

       In this Circuit, any alleged irreparable injury supporting preliminary equitable relief “must

be both certain and great; it must be actual and not theoretical.” Chaplaincy of Full Gospel

Churches, 454 F.3d at 297. It also must be of such “imminence that there is a clear and present

need for equitable relief.” Id. (citing Wisc. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985)

(per curiam)) (emphasis in original). Yet any remaining alleged harm in this case is entirely

conjectural. At this time—although Plaintiff might speculate that USAID will seek to destroy

documents, the retention of which is required under federal law—that position is unsupported by

any evidence. Such vague allegations about possible future harms fall far short of showing the

D.C. Circuit requires of an applicant for a temporary restraining order. See, e.g., Chaplaincy of

Full Gospel Churches, 454 F.3d at 297 (noting the Circuit’s “high standard for irreparable injury”).

IV.    The Balance of Interests Strongly Favors Denial of Plaintiff’s Motion.

       To determine the balance of interests, including the public interest here, the Court “weighs

the harm” to Plaintiff “if there is no injunction against the harm to” the government “if there is”

an injunction. Cf. Pursuing Am.’s Greatness, 831 F.3d at 511. As explained above, denial of the

TRO will not harm Plaintiff because no relevant records were destroyed on March 11, 2025.

Moreover, there is no currently ongoing alleged misconduct to enjoin. On the other side of the

balance, the public interest and the Government’s interests would be impaired if the Court were to

enjoin Defendants from ordinary application of USAID’s record retention requirements in


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accordance with the agency’s NARA-approved disposition schedule and its processes for handling

current classified program files. See Carr Decl. ¶ 7. Plaintiff seeks a wide-reaching restraining

order that would enjoin any removal or destruction of USAID documents, which would not only

prevent the agency from proceeding with its decommissioning process but also impose

unreasonable practical burdens on other agencies, particularly the General Services Administration

and the new lessee of USAID’s office space, which asked USAID to remove its files from the

Ronald Reagan Building by March 31, 2025.               See Carr Decl. ¶ 5. Plaintiff provides no

countervailing justification for imposing such extreme restraints on the government’s functions,

warranting denial of the requested temporary restraining order.

V.     Plaintiff Should Be Ordered to Post Security In Connection With Any Temporary
       Injunctive Relief.

       For the reasons stated above, Defendants submit that the Court can and should deny

Plaintiff’s motion in its entirety. However, should the Court be inclined to order any injunctive

relief, the Court should also order Plaintiff to post security. Under Federal Rule of Civil Procedure

65(c), the Court may issue a preliminary injunction “only if the movant gives security” for “costs

and damages sustained” by Defendants if they are later found to “have been wrongfully

enjoined.” Fed. R. Civ. P. 65(c). In the event the Court issues an injunction here, the Court should

require Plaintiffs to post an appropriate bond commensurate with the scope of any injunction. See

DSE, Inc. v. United States, 169 F.3d 21, 33 (D.C. Cir. 1999) (stating that Rule 65(c) places “broad

discretion in the district court to determine the appropriate amount of an injunction bond”).

Particular given that the relief requested by Plaintiff could hinder Defendants’ ability to timely

transition USAID’s Ronald Reagan Building office space to a new tenant, the Court should

consider the implications of any order prohibiting Defendant from disposing of records in

determining the among of bond to require from Plaintiff.



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                                   CONCLUSION

       For these reasons, the Court should deny the Plaintiff’s Motion for a Temporary

Restraining Order.

 Dated: March 14, 2025                   Respectfully submitted,

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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 AMERICAN OVERSIGHT,

                Plaintiff,

        v.
                                                         Civil Action No. 25-0719 (TSC)
 U.S. AGENCY FOR INTERNATIONAL
 DEVELOPMENT, et al.,

                Defendants.




                                    [PROPOSED] ORDER

       UPON CONSIDERATION of Plaintiff’s Motion for Temporary Restraining Order,

Defendants’ Opposition, and the entire record herein, it is hereby

       ORDERED that Plaintiff’s motion is DENIED.



SO ORDERED:



________________                                     ___________________________________
Date                                                 TANYA S. CHUTKAN
                                                     United States District Judge
